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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 16-cv-21301-GAYLES

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,
V.

ARIEL QUIROS,

WILLIAM STENGER,

JAY PEAK, INC.,

Q RESORTS, INC.,

JAY PEAK HOTEL SUITES L-P.,

JAY PEAK HOTEL SUITES PHASE II. L.P.,

JAY PEAK MANAGEMENT, INC.,

JAY PEAK PENTHOUSE SUITES, L.P.,

JAY PEAK GP SERVICES, INC.,

JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
JAY PEAK GP SERVICES GOLF, INC.,

JAY PEAK LODGE AND TOWNHOUSES L-P.,
JAY PEAK GP SERVICES LODGE, INC.,

JAY PEAK HOTEL SUITES STATESIDE L.P.,
JAY PEAK GP SERVICES STATESIDE, INC.,
JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
AnC BIO VERMONT GP SERVICES, LLC,

Defendants,

JAY CONSTRUCTION MANAGEMENT, INC.,
GSI OF DADE COUNTY, INC.,

NORTH EAST CONTRACT SERVICES, INC.,
Q BURKE MOUNTAIN RESORT, LLC,

Relief Defendants, and

Q BURKE MOUNTAIN RESORT, HOTEL AND
CONFERENCE CENTER, L.P.,
Q BURKE MOUNTAIN RESORT GP SERVICES, LLC

Additional Defendants

 
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AMENDED APPLICATION FOR ATTORNEYS’ FEES
Cheffy Passidomo, P.A., Hanley Law and Barr Law Group, as counsel for Plaintiffs,
in the case styled Cason, et al. v. Edward J. Carroll, Esq. and Mark H. Scribner, Esq.,
Case No. 2:18-CV-40 (the “Cason Action’), hereby file this Application for Attorneys’ Fees
for distribution, and state:

1. That the law firms of Cheffy Passidomo, Hanley Law and Barr Law Group
are counsel for the Plaintiffs in the Cason Action pending in Vermont, Case No. 2:18-cv-
AO.

2. The original Complaint was filed on February 8, 2018 and an Amended
Complaint was filed on August 8, 2019. Plaintiffs were represented by three law firms
including Cheffy Passidomo, Hanley Law and Barr Law Group. The attorneys included:

(a) Barr Law Group

1. Russ Barr, Esq.
2. Chandler Matson, Esq.
3. Aaron Morris, Esq.

(b) Hanley Law
Sara Hanley, Esq.

(c) Cheffy Passidomo, P. A.
Louis D. D’Agostino, Esq.

3. That Plaintiffs totaled 25 investors at Jay Peak who previously retained the
law firm of Carroll & Scribner. During the course of this representation in claims against
Carroll and Scribner, Plaintiffs’ counsel participated in depositions of the majority of the
Cason Plaintiffs which some required in part extensive travel, as well as the depositions

of Carroll and Scribner. Plaintiffs also retained three experts. One expert, Richard Heaps
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was deposed by Defendants’ counsel in Naples, Florida. In addition to these depositions
there was substantial written discovery, including document production and
interrogatories. There was also substantial motion practice in this case. Plaintiffs’ counsel
participated in two mediations. The Plaintiffs entered into this Settlement Agreement
which was preliminarily approved by this Court on January 5, 2021.

4. That in accordance with the terms of paragraph 7 of the Settlement
Agreement, an agreed attorneys’ fund in the amount of $2,450,000 was established to
pay for all attorneys’ fees and costs incurred by the law firms representing the Plaintiffs.

5. This application is submitted pursuant to paragraph 7(b) of the Settlement
Agreement approved by this Court for the attorneys’ fees totaling $2,450,000.

6. Attorneys’ fees for Plaintiffs’ counsels’ hourly fees to date and the rate of
the contingency fee agreements between Plaintiffs and Plaintiffs’ counsel in this case
both exceed the total attorneys’ fees fund provided for by the Settlement Agreement.

7. Pursuant to paragraph 7(i), Plaintiffs forwarded a letter dated January 7,
2021 to the Receivers counsel advising counsel of the attorneys’ agreement on the
allocation and distribution of the attorneys’ fund. A true and correct copy of the letter to
attorney Jeff Schneider, including a copy of the written agreement and allocation of
attorneys’ fees is attached as Exhibit “1.”

8. This application for attorneys’ fees is submitted in compliance with the terms
of the Settlement Agreement entered into between all parties, and with the terms of the
Order entered by this Court preliminarily approving the Settlement Agreement.

WHEREFORE, counsel for Plaintiffs in the case styled, Cason et al. v. Edward

Carroll, Esg. and Mark Scribner, Esq., United States District Court for the District of
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Vermont Case No. 2:18-cv-40, hereby provide notice of its compliance with the terms of
the Settlement Agreement, and submits this application for an award of attorneys’ fees,
and hereby request that the Receiver, on final approval of this Settlement Agreement,
comply with the provisions of the Settlement Agreement and distribute the attomeys’ fees
in accordance with the agreement on allocation of attorneys’ fees.

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Dated this \4 day of February 2021.

 

 

 

BARR LAW GROUP CHEFFY PASSIDOMO
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sell D. Barr, Louis D. D'Agostind

5 Mountain Réa 821 Fifth Avenue South
Stowe, VT a Naples, Florida 34102
Telephone: 802-253-6272 Telephone: 239-261-9300
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CERTIFICATE OF SERVICE

 

| HEREBY CERTIFY that a true and correct copy of the foregoing was served on
tT
February AS. 2021 via the Court's notice of electronic filing on all CM/ECF registered

users entitled to notice in this case as indicated on the attached Service List.

Louis D. D’Agostino, Esq.

 
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“Cilebrating BS KLoans
CHEFFY PASSIDOMO
ATTORNEYS AT LAW
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Board Certified Business Litigation Lawyer www.napleslaw.com DEBBIE SINES CROCKETT
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Board Certified Real Estate Lawyer Board Certified Business Litigation Lawyer
LOUIS D, D’AGOSTINO BRIAN J, THANASIU
Board Certified Appellate Practice Lawyer Board Certified Real Estate Lawyer
DAVID A. ZULIAN
Board Certified Construction Lawyer cnn eroraen SO NN
CLAY C, BROOKER
Board Certified City, County and
Local Goverment Lawyer Of Counsel:

GEORGE L. VARNADOE

January 7, 2021

Via Email to jcs@lkisg.com

Jeffrey C. Schneider, Esq.

Levine Kellogg Lehman Schneider &
Grossman, LLP

201 South Biscayne Boulevard
22nd Floor, Citigroup Center

Miami, FL 33131-4338

Re: SEC v. Quiros, et al., United States Southern District of Florida, Case No.
16-cv-21301-Gayles

 

Sandra Cason et al v. Edward Carroll, Eso. and Mark Scribner, Esa.
United States District Court for the District of Vermont, Case No. 2:18-cv-
40

Dear Jeff:

Pursuant to paragraph 6 of the Preliminary Order entered by Judge Darrin P.
Gayles of the United States District Judge of the Southern District, and paragraph 7(b)
of the Settlement Agreement, this letter is notification to you as attormey’ for the
Receiver, Michael Goldberg that the attomeys representing the Cason Plaintiffs have
agreed on the allocation of the attorney’s fees fund in the amount of $2,450,000. This
agreed allocation includes:

 

Total Attorney’s Fee Fund: $2,450,000.00

a. Barr Law Group
Attention: Russ Barr: $1,470,000.00

b. Cheffy Passidomo, P.A.
Attention: Louis D. D'Agostino $ 490,000.00

c. Hanley Law
Attention: Sara Hanley $ 490,000.00
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Jeffrey C. Schneider, Esq.
January 7, 2021
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All counsel have agreed to this allocation. We will forward copies of each firm's
wiring instructions for these disbursements.

Please let us know if you should require any further information on this proposed
allocation as required under the settlement agreement and the preliminary order.

Sincerely,

CHEFFY PASSIDOMO, P.A.
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[Aso

Louis D. D’Agostino, Esq.
LDD:bmd For the Firm
Enclosures
cc: Russell Barr, Esq.
Sara Hanley, Esq.
Chandler Matson, Esq.

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Agreement on Allocation of Attorney's Fees

Barr Law Group, Cheffy Passidomo, P.A., and Hanley Law are counsel for the
Cason Plaintiffs in the litigation styled Cason, et al. v. Edward Carroll, Eso. and Mark
Scribner, Esq, Case No. 2:18-cv-40, United States District Court for the District of
Vermont. All counsel have agreed to the allocation of disbursement of attomey’s fees in
the amount of $2,450,000.00 as follows:

a. Bart Law Group $1,470,000.00
b. Cheffy Passidomo, PA. $ 490,000.00
c. Hanley Law $ 490,000.00

CHEFFY PASSIDOMO, P.A.

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By: jt) Bess ta, >
Louis D. D'Agdstino, Esq.

 

 

_ Date: | | b {doen

HANLEY LAW

By: Sana Nea ny
Sara Hanley, Esq.

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